                 Case 4:19-cr-00069-WTM-CLR Document 49 Filed 06/12/19 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT FOR
                             THE SOUTHERN DISTRICT OF GEORGIA
                                       SAVANNAH DIVISION


         UNITED STATES OF AMERICA,


         V.                                               Case No.     CR419-69


         GILBERT BASALDUA, ET AL,
                             Defendants




                  Jennifer G. Solari, counsel of record for the United States

         of America in the above-styled case has moved for leave of absence.

         The Court is mindful that personal and professional obligations

         require the absence of counsel on occasion. The Court, however,

         cannot accommodate its schedule to the thousands of attorneys who

         practice within the Southern District of Georgia.

                  Counsel may be absent at the times requested. However, nothing

         shall prevent the case from going forward; all discovery shall

         proceed, status conferences, pretrial conferences, and            trial shall

         not be jlnterrupted or delayed. It is the affirmative obligation of
           crt


         c^ns^!|^to provide a fitting substitute.
          c_
u?0':C
                  JL~'               y^
 {.r»
          c\
                  /|ir;ORDERED this _v£j-day of June 2019.


         C>sJ


                                               WILLIAM T. MOORE, JR.
                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF GEORGIA
